IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

UNITED STATES OF AMERICA,
Plaintiff,

v. Case No. 21-00277-01-CR-W-DGK

SUENA KONGMANICHANH,

 

Defendant.
PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties
described below have entered into the following plea agreement:

1. The Parties. The parties to this agreement are the United States Attorney’s Office
for the Western District of Missouri (otherwise referred to as “the Government” or “the United
States”), represented by Teresa A. Moore, Acting United States Attorney, and Brent Venneman,
Assistant United States Attorney, and the defendant, Suena KONGMANICHANH (“the
defendant”), represented by Keith O’Connor.

The defendant understands and agrees that this plea agreement is only between her and the
Acting United States Attorney for the Western District of Missouri, and that it does not bind any
other federal, state, or local prosecution authority or any other government agency,
unless otherwise specified in this agreement.

2. Defendant’s Guilty Plea. The defendant agrees to waive Indictment and plead
guilty to Count One of an Information charging her with a violation of 18 U.S.C. § 371, conspiracy
to use fire in a federal crime, wire fraud and mail fraud. By entering into this plea agreement, the

defendant admits that she knowingly committed this offense, and is in fact guilty of this offense.

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3. Factual Basis for Guilty Plea. The parties agree that the facts constituting the

offense to which she is pleading guilty are as follows:

The defendant participated in an arson and insurance fraud conspiracy, that ran from 2013
through 2019, with Wandale FULTON and others. During the conspiracy, FULTON and
co-conspirators, including the defendant, bought houses in Kansas City, Missouri, insured them,
had them burned or vandalized, and then made claims on the destroyed houses resulting in losses
to insurance companies.

FULTON and his co-conspirators made false statements on the insurance applications, such as
the houses were rented or occupied, that there were valuable contents in the houses, and that the
houses had been renovated. After obtaining insurance, FULTON or another co-conspirator
would set fire to the house. The homeowner would then claim a total loss with the insurance
company and would falsely claim no knowledge of, or involvement in causing the fire.

KONGMANICHANH purchased 5600 Jaudon for $650.00 at the direction of FULTON
with funds provided by FULTON on June 3, 2016. KKONGMANICHANH obtained an insurance
policy through Nationwide Insurance for 5600 Jaudon on August 3, 2016, and in the application,
she indicated that the property would be used as a rental.

At approximately 3:34 a.m., on July 11,2017, 5600 Jaudon burned in a suspicious fire and
was a total loss. No persons were located at the house during the fire. A fire scene examination
was conducted by the KCFD and KCPD. Fire investigators determined the fire originated in the
rear of the home, but due to the significant damage, the cause of the fire could not be determined.
At the time of the fire, the property was purportedly leased to one of FULTON’s associates.

KONGMANICHANH filed a claim with Nationwide on the day the fire was reported.
During the claims process, KONGMANICHANH claimed that she had spent approximately
$22,000 on repairs and improvements to 5600 Jaudon. She later admitted that the receipts and
invoices she provided to support her claim were completely false. She said these documents had
been created by FULTON to support her claim that the house was renovated for use as a rental.
On July 21, 2017, KONGMANICHAMNH sent a signed a proof of loss statement via telefacsimile
to Nationwide Insurance swearing that the loss “did not originate by any act, design, direction, or
procurement” of the insured.

In support of the claim, KONGMANICHANH and FULTON created and submitted
numerous documents including a fake lease agreement and the proof of loss statement to
Nationwide agent, Aaron Franklin. These acts constitute the federal offense of wire fraud and
mail fraud because the documents were transmitted by email and traveled through interstate

commerce.

On September 12, 2017, Nationwide Insurance issued a $138,500 check for the loss of the
structure and contents at 5600 Jaudon. On September 19, 2017, KONGMANICHANH deposited
the $138,500 Nationwide check into her Academy Bank account.

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Because FULTON and KONGMANICHANH had falsely claimed the house was a
rental property, KONGMANICHANH’s insurance coverage also included lost rent.
KONGMANICHANH received three separate payments of $1000 from Nationwide to cover lost
rent. In each instance, the electronic funds transfer constitutes the federal crime of wire fraud
because the payment was sent from Nationwide Insurance’s J.P. Morgan account, located in
Columbus, Ohio, to KONGMANICHANH’s Academy Bank Account in Kansas City, Missouri.

On September 12, 2017, Nationwide also mailed a check for $44,500 to the Kansas City
Dangerous Building Enforcement Office to pay for demolition and maintenance of 5600 Jaudon.
Because the check was mailed from Nationwide’s bank in Columbus, Ohio, to Kansas City,
Missouri, this mailing constitutes the federal crime of mail fraud. Nationwide’s check was
deposited into Kansas City’s Dangerous Buildings account at Commerce Bank in Kansas City,
Missouri, on September 25, 2015.

Federal investigators contacted KONGMANICHANH about her involvement in the
conspiracy in March 2019. KONGMANICHANH confessed her involvement in the Jaudon

arson. KONGMANICHANH said that she and FULTON purchased 5600 Jaudon for the sole
purpose of burning it down to obtain insurance proceeds.

KONGMANICHANH also explained that the documents that she submitted to Nationwide
in support of her insurance claim were fake and were created solely to perpetrate the scheme to
obtain a payout for the replacement value of the house. KONGMANICHANH,, in turn, coached
FULTON ’s associate who was reportedly renting the property from her. KONGMANICHANH
said that she only made approximately $15,000 from the Jaudon fire.

4. Use of Factual Admissions and Relevant Conduct. The defendant acknowledges,
understands and agrees that the admissions contained in Paragraph 3 and other portions of this plea
agreement will be used for the purpose of determining her guilt and advisory sentencing range
under the United States Sentencing Guidelines (“U.S.S.G.”), including — the calculation
of the defendant’s offense level in accordance with U.S.S.G. § IB1.3. |The defendant
acknowledges, understands and agrees that the conduct charged as well as all other uncharged

related criminal activity may be considered as “relevant conduct” pursuant to U.S.S.G. § 1B1.3 in

calculating the offense level for the charge to which she is pleading guilty.

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5. Statutory Penalties. The defendant understands that upon her plea of guilty to
Count One of the Information charging her with conspiracy, in violation of 18 U.S.C. § 371, the
maximum penalty the Court may impose is not more than five years of imprisonment, no more than
a $250,000 fine, three years of supervised release, an order of restitution and a $100 mandatory
Special Assessment which must be paid in full at the time of sentencing. The defendant further
understands that this offense is a Class D felony.

6. Sentencing Procedures. The defendant acknowledges, understands and agrees to

the following:

a. in determining the appropriate sentence, the Court will consult and
consider the United States Sentencing Guidelines promulgated by the United States
Sentencing Commission; these Guidelines, however, are advisory in nature, and the
Court may impose a sentence either less than or greater than the defendant's
applicable Guidelines range, unless the sentence imposed is “unreasonable”;

b. the Court will determine the defendant’s applicable Sentencing
Guidelines range at the time of sentencing;

c. in addition to a sentence of imprisonment, the Court may impose a term
of supervised release of up to three (3) years; that the Court must impose a period
of supervised release if a sentence of imprisonment of more than one year is
imposed;

d. ifthe defendant violates a condition of her supervised release, the Court
may revoke her supervised release and impose an additional period of
imprisonment of up to two (2) years without credit for time previously spent on
supervised release. In addition to a new term of imprisonment, the Court also may
impose a new period of supervised release, the length of which cannot exceed three
(3) years, less the term of imprisonment imposed upon revocation of the
defendant’s first supervised release:

e. the Court may impose any sentence authorized by law, including a
sentence that is outside of, or departs from, the applicable Sentencing Guidelines
range;

f. any sentence of imprisonment imposed by the Court will not allow for
parole;

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g. the Court is not bound by any recommendation regarding the sentence
to be imposed or by any calculation or estimation of the Sentencing Guidelines
range offered by the parties or the United States Probation Office; and

h. the defendant may not withdraw her guilty plea solely because of the
nature or length of the sentence imposed by the Court.

7. Government’s Agreements. Based upon evidence in its possession at this time, the
United States Attorney’s Office for the Western District of Missouri, as part of this plea agreement,
agrees not to bring any additional charges against defendant for any federal criminal offenses
related to the conspiracy that is described in paragraph three of this plea agreement for which it
has venue and which arose out of the defendant’s conduct described above.

The defendant understands that this plea agreement does not foreclose any prosecution for
an act of murder or attempted murder, an act or attempted act of physical or sexual violence against
the person of another, or a conspiracy to commit any such acts of violence or any criminal activity
of which the Acting United States Attorney for the Western District of Missouri has no knowledge.

The defendant recognizes that the United States’ agreement to forego prosecution of all of
the criminal offenses with which the defendant might be charged is based solely on the promises
made by the defendant in this agreement. If the defendant breaches this plea agreement, the
United States retains the right to proceed with the original charges and any other criminal
violations established by the evidence. The defendant expressly waives her right to challenge the
initiation of the dismissed or additional charges against her if she breaches this agreement. The
defendant expressly waives her right to assert a statute of limitations defense if the dismissed or
additional charges are initiated against her following a breach of this agreement. The defendant
further understands and agrees that if the Government elects to file additional charges against her

following her breach of this plea agreement, she will not be allowed to withdraw her guilty plea.

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8. Preparation of Presentence Report. The defendant understands the United States
will provide to the Court and the United States Probation Office a government version of the
offense conduct. This may include information concerning the background, character, and
conduct of the defendant, including the entirety of her criminal activities. The defendant
understands these disclosures are not limited to the count to which she has pleaded guilty. The
United States may respond to comments made or positions taken by the defendant or the
defendant’s counsel and to correct any misstatements or inaccuracies. The United States further
reserves its right to make any recommendations it deems appropriate regarding the disposition of
this case, subject only to any limitations set forth in this plea agreement. The United States and
the defendant expressly reserve the right to speak to the Court at the time of sentencing pursuant
to Rule 32(i)(4) of the Federal Rules of Criminal Procedure.

9. Withdrawal of Plea. Either party reserves the right to withdraw from this plea
agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and
its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored
to their pre-plea agreement positions to the fullest extent possible. However, after the plea has
been formally accepted by the Court, the defendant may withdraw her plea of guilty only if the
Court rejects the plea agreement or if the defendant can show a fair and just reason for requesting
the withdrawal. The defendant understands that if the Court accepts her plea of guilty and this
plea agreement but subsequently imposes a sentence that is outside the defendant’s applicable
Sentencing Guidelines range, or imposes a sentence that the defendant does not expect, like or
agree with, she will not be permitted to withdraw her plea of guilty.

10. Agreed Guidelines Applications. With respect to the application of the

Sentencing Guidelines to this case, the parties stipulate and agree as follows:

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a. The Sentencing Guidelines do not bind the Court and are advisory in
nature. The Court may impose a sentence that is either above or below the
defendant’s applicable Guidelines range, provided the sentence imposed is not
“unreasonable”;

b. The applicable Guidelines section for the offense of conviction is
U.S.S.G. § 2K 1.4, which provides for a base offense level of 24;

c. While the parties recognize there might be other specific aggravating
or mitigating U.S.S.G. applications, the parties agree that each side shall be free to
argue their respective positions of any additional Guidelines issues at the
sentencing hearing;

d. The defendant has admitted her guilt and clearly
accepted responsibility for her actions, and has assisted authorities in the
investigation or prosecution of her own misconduct by timely notifying authorities
of her intention to enter a plea of guilty, thereby permitting the Government to
avoid preparing for trial and permitting the Government and the Court to allocate
their resources efficiently. Therefore, she is entitled to a three-level reduction
pursuant to § 3E1.1(b) of the Sentencing Guidelines. The Government, at the time
of sentencing, will file a written motion with the Court to that effect, unless the
defendant (1) fails to abide by all of the terms and conditions of this plea agreement
and her pretrial release; or (2) attempts to withdraw her guilty plea[s], violates the
law, or otherwise engages in conduct inconsistent with her acceptance of
responsibility;

e. There is no agreement between the parties regarding the defendant’s
criminal history category. The parties agree that the Court will determine her
applicable criminal history category after receipt of the presentence investigation
report prepared by the United States Probation Office;

f. The defendant understands that the estimate of the parties with respect
to the Guidelines computation set forth in the subsections of this paragraph does
not bind the Court or the United States Probation Office with respect to the
appropriate Guidelines levels. Additionally, the failure of the Court to accept
these stipulations will not, as outlined in Paragraph 9 of this plea agreement,
provide the defendant with a basis to withdraw her plea of guilty;

g. The parties are not bound to recommend a sentence within the
Guidelines range. The United States may seek an upward departure from the
Guidelines or a sentence outside the Guidelines range. The defendant may seek a
downward variance or departure below the Guidelines, including a sentence of
probation. This agreement by the parties is not binding upon the Court or the
United States Probation Office and the Court may impose any sentence authorized

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by law, including any sentence outside the applicable Guidelines range that is not
“unreasonable”;

h. The defendant consents to judicial fact-finding by a preponderance of
the evidence for all issues pertaining to the determination of the defendant’s
sentence, including the determination of any mandatory minimum sentence
(including the facts that support any specific offense characteristic or other
enhancement or adjustment), and any legally authorized increase above the normal
statutory maximum. The defendant waives any right to a jury determination
beyond a reasonable doubt of all facts used to determine and enhance the sentence
imposed, and waives any right to have those facts alleged in the Information. The
defendant also agrees that the Court, in finding the facts relevant to the imposition
of sentence, may consider any reliable information, including hearsay; and

i. The defendant understands and agrees that the factual admissions
contained in Paragraph 3 of this plea agreement, and any admissions that she will

make during her plea colloquy, support the imposition of the agreed-upon

Guidelines calculations contained in this agreement.

11. Effect of Non-Agreement on Guidelines Applications. The parties understand,
acknowledge and agree that there are no agreements between the parties with respect to any
Sentencing Guidelines issues other than those specifically listed in Paragraph 10, and its
subsections. As to any other Guidelines issues, the parties are free to advocate their respective
positions at the sentencing hearing.

12. Change in Guidelines Prior to Sentencing. The defendant agrees that if any
applicable provision of the Guidelines changes after the execution of this plea agreement, then any
request by defendant to be sentenced pursuant to the new Guidelines will make this plea agreement
voidable by the United States at its option. If the Government exercises its option to void the
plea agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal
charges that could have been brought but for this plea agreement.

13. Government’s Reservation of Rights. The defendant understands that the United

States expressly reserves the right in this case to:

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a. oppose or take issue with any position advanced by defendant at the
sentencing hearing which might be inconsistent with the provisions of this plea
agreement;

b. comment on the evidence supporting the charge in the information;

c. Oppose any arguments and requests for relief the defendant might
advance on an appeal from the sentences imposed and that the United States
remains free on appeal or collateral proceedings to defend the legality and propriety
of the sentence actually imposed, even if the Court chooses not to follow any
recommendation made by the United States; and

d. oppose any post-conviction motions for reduction of sentence, or other
relief.

14. Waiver _of Constitutional Rights. The defendant, by pleading guilty,

acknowledges that she has been advised of, understands, and knowingly and voluntarily waives

the following rights:
a. the right to plead not guilty and to persist in a plea of not guilty;

b. the right to be presumed innocent until her guilt has been established
beyond a reasonable doubt at trial;

c. the right to a jury trial, and at that trial, the right to the effective
assistance of counsel;

d. the right to confront and cross-examine the witnesses who testify
against her;

e. the right to compel or subpoena witnesses to appear on her behalf; and

f. the right to remain silent at trial, in which case her silence may not be
used against her.

The defendant understands that by pleading guilty, she waives or gives up those rights and
that there will be no trial. The defendant further understands that if she pleads guilty, the Court
may ask her questions about the offense or offenses to which she pleaded guilty, and if the

defendant answers those questions under oath and in the presence of counsel, her answers may

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later be used against her in a prosecution for perjury or making a false statement. The defendant
also understands she has pleaded guilty to a felony offense and, as a result, will lose her right to
possess a firearm or ammunition and might be deprived of other rights, such as the right to vote or
register to vote, hold public office, or serve on a jury.

15. Waiver of Appellate and Post-Conviction Rights.

a. The defendant acknowledges, understands and agrees that by pleading
guilty pursuant to this plea agreement she waives her right to appeal or collaterally
attack a finding of guilt following the acceptance of this plea agreement, except on
grounds of (1) ineffective assistance of counsel; or (2) prosecutorial misconduct.

b. The defendant expressly waives her right to appeal her sentence,
directly or collaterally, on any ground except claims of (1) ineffective assistance of
counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal
sentence” includes a sentence imposed in excess of the statutory maximum, but
does not include less serious sentencing errors, such as a misapplication of the
Sentencing Guidelines, an abuse of discretion, or the imposition of an unreasonable
sentence. However, if the United States exercises its right to appeal the sentence
imposed as authorized by 18 U.S.C. § 3742(b), the defendant is released from this
waiver and may, as part of the Government’s appeal, cross-appeal her sentence as
authorized by 18 U.S.C. § 3742(a) with respect to any issues that have not been
stipulated to or agreed upon in this agreement.

16. Financial Obligations. By entering into this plea agreement, the defendant
represents that she understands and agrees to the following financial obligations:

a. The Court must order restitution to the victims of the offense to which
the defendant is pleading guilty. The defendant agrees that the Court may order
restitution in connection with the conduct regarding all other uncharged related
criminal activity.

b. The United States may use the Federal Debt Collection Procedures Act
and any other remedies provided by law to enforce any restitution order that may
be entered as part of the sentence in this case and to collect any fine.

c. The defendant will fully and truthfully disclose all assets and property
in which she has any interest, or over which the defendant exercises control directly
or indirectly, including assets and property held by a spouse, nominee or other third
party. The defendant’s disclosure obligations are ongoing, and are in force from
the execution of this agreement until the defendant has satisfied the restitution order

in full.
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d. Within 10 days of the execution of this plea agreement, at the request of
the USAO, the defendant agrees to execute and submit: (1) a Tax Information
Authorization form: (2) an Authorization to Release Information; (3) a completed
financial disclosure statement; and (4) copies of financial information that the
defendant submits to the U.S. Probation Office. The defendant understands that
compliance with these requests will be taken into account when the United States
makes a recommendation to the Court regarding the defendant’s acceptance of

responsibility.

e. At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning
the identification and recovery of substitute assets and restitution.

f. The defendant hereby authorizes the USAO to obtain a credit report
pertaining to her to assist the USAO in evaluating the defendant’s ability to satisfy
any financial obligations imposed as part of the sentence.

g. The defendant understands that a Special Assessment will be imposed
as part of the sentence in this case. The defendant promises to pay the Special
Assessment of $100 by submitting a satisfactory form of payment to the Clerk of
the Court prior to appearing for the sentencing proceeding in this case. The
defendant agrees to provide the Clerk’s receipt as evidence of her fulfillment of this
obligation at the time of sentencing.

h. The defendant certifies that she has made no transfer of assets
or property for the purpose of (1) evading financial obligations created by this
Agreement; (2) evading obligations that may be imposed by the Court; nor
(3) hindering efforts of the USAO to enforce such financial obligations.
Moreover, the defendant promises that she will make no such transfers in the future.

i. In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars ($10,000) or more, the
United States may at its option: (1) choose to be relieved of its obligations under
this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
restitution, and fines imposed by any criminal or civil judgment, and also collect
100% (one hundred percent) of the value of any previously undisclosed assets.
The defendant agrees not to contest any collection of such assets. In the event the
United States opts to be relieved of its obligations under this plea agreement, the
defendant’s previously entered pleas of guilty shall remain in effect and cannot be
withdrawn.

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17. Waiver of FOIA Request. The defendant waives all of her rights, whether asserted
directly or by a representative, to request or receive, or to authorize any third party to request or
receive, from any department or agency of the United States any records pertaining to the
investigation or prosecution of this case including, without limitation, any records that may be
sought under the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C.
§ 552a.

18. Waiver of Claim for Attorney’s Fees. The defendant waives all of her claims
under the Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses
arising out of the investigation or prosecution of this matter.

19. Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,
violates any conditions of release, or violates any term of this plea agreement between the signing
of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the
defendant provides information to the Probation Office or the Court that is intentionally
misleading, incomplete, or untruthful, or otherwise breaches this plea agreement, the United States
will be released from its obligations under this agreement. The defendant, however, will remain
bound by the terms of the agreement, and will not be allowed to withdraw her plea of guilty.

The defendant also understands and agrees that in the event she violates this plea
agreement, all statements made by her to law enforcement agents subsequent to the execution of
this plea agreement, any testimony given by her before a grand jury or any tribunal or any leads
from such statements or testimony shall be admissible against her in any and all criminal
proceedings. The defendant waives any rights that she might assert under the United States

Constitution, any statute, Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the

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Federal Rules of Evidence, or any other federal rule that pertains to the admissibility of any
statements made by her subsequent to this plea agreement.

20. Defendant’s Representations. The defendant acknowledges that she has entered
into this plea agreement freely and voluntarily after receiving the effective assistance, advice and
approval of counsel. The defendant acknowledges that she is satisfied with the assistance of
counsel, and that counsel has fully advised her of her rights and obligations in connection with this
plea agreement. The defendant further acknowledges that no threats or promises, other than the
promises contained in this plea agreement, have been made by the United States, the Court, her
attorneys or any other party to induce her to enter her plea of guilty.

21. No Undisclosed Terms. The United States and defendant acknowledge and agree
that the above-stated terms and conditions, together with any written supplemental agreement that
might be presented to the Court in camera, constitute the entire plea agreement between the parties,
and that any other terms and conditions not expressly set forth in this agreement or any written
supplemental agreement do not constitute any part of the parties’ agreement and will not be
enforceable against either party.

22. Standard of Interpretation. The parties agree that, unless the constitutional
implications inherent in plea agreements require otherwise, this plea agreement should be
interpreted according to general contract principles and the words employed are to be given their

normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any

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drafting errors or ambiguities are not to be automatically construed against either party, whether

or not that party was involved in drafting or modifying this agreement.

Teresa A. Moore
Acting United/States Attorney

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Dated: i 4202.

 

Assistant United States Attorney

I have consulted with my attorney and fully understand all of my rights with respect to the
offense charged in the information. Further, I have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines. I have read
this plea agreement and carefully reviewed every part of it with my attorney. I understand this
plea agreement and I voluntarily agree to it.

Dated: [[- 307 242 Niwas. Korannss

 

 

Suena Kongmanichafth
Defendant
I am defendant Suena Kongmanichanh’s attorney. I have fully explained to

Ms. Kongmanichanh her rights with respect to the offense charged in the information. Further,
I have reviewed with her the provisions of the Sentencing Guidelines which might apply in this
case. I have carefully reviewed every part of this plea agreement with her. To my knowledge,
Ms. Kongmanichanh’s decision to enter into this plea agreement is an informed and voluntary one.

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Keith O’Connor ss“
Attorney for Defendant

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